         Case 1:17-cv-01331-RDM Document 57 Filed 12/01/17 Page 1 of 7



                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                             )
COMMONWEALTH OF MASSACHUSETTS,               )
et al.,                                      )
                                             )
                      Plaintiffs,            )
                                             )
               v.                            )   Civil Action No. 1:17-cv-1331 (RDM)
                                             )
THE DEPARTMENT OF EDUCATION, and             )
ELISABETH DEVOS, in her official capacity as )
Secretary of Education,                      )
                                             )
                      Defendants.            )
__________________________________________)

        NOTICE OF FILING A CERTIFIED LIST OF THE CONTENTS OF THE
                        ADMINISTRATIVE RECORDS

       Pursuant to Local Rule 7(n)(1) and the Court’s November 9, 2017 Minute Order,

Defendants hereby file a certified list of the contents of the administrative records in the above-

captioned case. An index of the administrative records, along with the certifications for the

records, are attached.

       Defendants are serving a copy of the entire administrative records on DVD on plaintiffs,

via UPS overnight mail, to:

Yael Shavit
Assistant Attorney General
Office of the Massachusetts Attorney General
One Ashburton Place
Boston, MA 02108
(617) 963-2197


Dated: December 1, 2017                      Respectfully submitted,

                                             CHAD A. READLER
                                             Principal Deputy Assistant Attorney General
Case 1:17-cv-01331-RDM Document 57 Filed 12/01/17 Page 2 of 7



                           MARCIA BERMAN
                           Assistant Branch Director

                           /s/ R. Charlie Merritt
                           R. CHARLIE MERRITT (VA # 89400)
                           Trial Attorney
                           KAREN S. BLOOM (DC # 499425)
                           Senior Counsel
                           U.S. Department of Justice
                           Civil Division, Federal Programs Branch
                           20 Massachusetts Ave. NW
                           Washington, DC 20530
                           (202) 616-8098
                           robert.c.merritt@usdoj.gov

                           Counsel for Defendants
                  Case 1:17-cv-01331-RDM Document 57 Filed 12/01/17 Page 3 of 7



                                     IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLUMBIA

                                                                    :
     COMMONWEALTH OF                                                :
     MASSACHUSETTS, et al.                                          :
                                                                    :
                                                                    :
     Plaintiffs,                                                    :
                                                                    :
     v.                                                             :            Case No. 17-cv-01331-RDM
                                                                    :
     UNITED STATES DEPARTMENT OF                                    :
     EDUCATION, and                                                 :
     BETSY DEVOS, in her official capacity                          :
     as Secretary of the U.S. Department of                         :
     Education;                                                     :
                                                                    :
                                                                    :
     Defendants.                                                    :
                                                                    :

                                                      Department of Education

                                  34 C.F.R. Parts 668, 674, 682, and 685
          Student Assistance General Provisions, Federal Perkins Loan Program, Federal Family
          Education Loan Program, William D. Ford Federal Direct Loan Program, and Teacher
           Education Assistance for College and Higher Education Grant Program; Final Rule;
                              Notification of Partial Delay of Effective Dates
                              Docket No. ED-2015-OPE-0103, June 16, 2017

                                34 C.F.R. Parts 668, 674, 682, and 685
       Student Assistance General Provisions, Federal Perkins Loan Program, Federal Family
       Education Loan Program, William D. Ford Federal Direct Loan Program, and Teacher
     Education Assistance for College and Higher Education Grant Program; Interim Final Rule;
                           Delay of Effective Date; Request for Comments
                          Docket No. ED-2015-OPE-0108, October 24, 2017


                 Administrative Record Index for the Delay of Effective Date (“705 Notice”)

Delay of Effective Date: Final Rule, June 16, 2017 ........................................................ AR-A-000001
Delay of Effective Date, Regulatory Action Memorandum, June 12,
       2017...................................................................................................................... AR-A-000003
Intent to Establish Negotiated Rulemaking Committees, June 16, 2017 ......................... AR-A-000008

                                                                        i
                 Case 1:17-cv-01331-RDM Document 57 Filed 12/01/17 Page 4 of 7



Borrower Defense: Final Rule, November 1, 2016 ......................................................... AR-A-000010
California Association of Private Postsecondary Schools v. DeVos,
       Case No. 1:17-cv-00999-RDM (D. D.C. May 24, 2017),
       complaint.............................................................................................................. AR-A-000174
Correspondence................................................................................................................ AR-A-000260




                                          [Remainder of page left deliberately blank]




                                                                      ii
                 Case 1:17-cv-01331-RDM Document 57 Filed 12/01/17 Page 5 of 7



                              Administrative Record Index for the Interim Final Rule

Interim Final Rule, October 24, 2017 ...............................................................................AR-B-000001
Delay of Effective Date: Final Rule, June 16, 2017 ........................................................ AR-A-000001
Borrower Defense: Final Rule, November 1, 2016 ......................................................... AR-A-000010
California Association of Private Postsecondary Schools v. DeVos,
       Case No. 1:17-cv-00999-RDM (D. D.C. May 24, 2017),
       complaint.............................................................................................................. AR-A-000174
Senate Report No. 99-296 (1986) .....................................................................................AR-B-000009
Reauthorization of the Higher Education Act, 1985: Hearings Before
      the S. Subcomm. On Educ., Arts and Humanities, 99th Cong.
      10 (1985) ...............................................................................................................AR-B-000366
H.R. Rep. No. 102–447, at 77 (1992) ...............................................................................AR-B-000866
Notice of Proposed Rulemaking, October 24, 2017 .........................................................AR-B-001431
Correspondence.................................................................................................................AR-B-001437




                                                                      iii
Case 1:17-cv-01331-RDM Document 57 Filed 12/01/17 Page 6 of 7
Case 1:17-cv-01331-RDM Document 57 Filed 12/01/17 Page 7 of 7
